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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


LYNN ROWELL DIB/A BEAUMONT                      §
GREENERY; MONTGOMERY                            §
CHANDLER, INC.; PAULA COOK;                     §
TOWNSLEY DESIGNS, LLC; AND                      §
SHONDA TOWNSLEY,                                §
                 PLAINTIFFS,                    §
                                                §
V.                                              §    CAUSE NO. A:14-CV-190-LY
                                                §
KEN PAXTON, IN HIS OFFICIAL                     §
CAPACITY AS ATTORNEY GENERAL                    §
OF THE STATE OF TEXAS,                          §
                 DEFENDANT.                     §
                                                §



                 PERMANENT INJUNCTION AND FINAL JUDGMENT

      Before the court is the above styled and numbed cause. On this date by separate order the

court determined that as applied, the Texas Anti-Surcharge law, Texas Business and Commerce

Code section 604A.0021, violates Plaintiffs' commercial free-speech rights under theFirst

Amendment to the United States Constitution. Therefore,

      IT IS ORDER1D that Defendant Ken Paxton, Attorney General of Texas as well as his

employees, agents, and successors in office, are hereby ENJOINED from enforcing Texas Business

and Commerce Code section 604A.0021 against Plaintiffs Lynn Rowell d/b/a Beaumont Greenery,

Montgovery Chandler, Inc., Paula Cook, Townsley Designs, LLC, and Shonda Townsley.

       As all disputes among the parties have been resolved, the court renders the following Final

Judgment pursuant to Federal Rule of Civil Procedure 58.
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       IT IS   ORDERED that Plaintiffs Lynn Rowell dibla Beaumont Greenery, Montgovery

Chandler, Inc., Paula Cook, Townsley Designs, LLC, and Shonda Townsley recover their costs of

court from Defendant Ken Paxton, in his official capacity as Attorney General ofthe State of Texas.

       Any claim for attorney's fees incurred in this action will be determined post judgment and

pursuant to Rule CV-7(j), of the Local Rules of the United States District Court for the Western

District of Texas.

       IT IS   FINALLY ORDERED that the case is hereby CLOSED.




                                             LL/
       SIGNED this              day of August, 2018.




                                                    TED STA ES DISTRICT JUDGE




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